CERTIORARI to justice Leonard.
Record — Horn vs. Dickinson. Action of debt on account; debt $9 28. Capias issued and defendant brought forward and confessed judgment for $9 28 debt, and 73 cents cost.
The exceptions were — 1st. That there was not any cause of action before the justice to give him jurisdiction. 2d. That the judgment was rendered by confession of defendant without any special cause of action within his jurisdiction, and without hearing the proofs and allegations of the parties, as required by law.
Mr. Wales contended on the authority of Morrison vs.The Turnpike Co. (3 Harr. Rep. 166,) that the justice was not authorized to take this confession of judgment.
But the court said that the cases were distinguishable. In the case cited, the parties went before the justice without process, and he recorded a judgment, by confession, without any previous process. There was no case before the justice upon which he could give judgment. It stood solely on the parties' confession. But in the present case the parties were regularly before him, and a cause stood for hearing, upon which the justice was authorized to give judgment, upon proof satisfactory to him, whether upon the defendant's admission of the plaintiff's claim, or on any other evidence.
                                                  Judgment affirmed.